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083061.0347(207)                             RMC:lab                               #397

                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

STATE AUTOMOBILE MUTUAL                            )
INSURANCE COMPANY,                                 )
                                                   )
                              Plaintiff,           )
                                                   )
                         v.                        )
                                                   )
WILDBERRY PANCAKES & CAFÉ III,                     )
Inc., an Illinois corporation, DAISY               )
GABRIEL, JASMINE SAADEH, JADE                      )
VALLEJO, and JIHAD ABDALLAH,                       )
                                                   )
                              Defendants.          )

              COMPLAINT FOR DECLARATORY JUDGMENT

       Now comes the Plaintiff, State Automobile Mutual Insurance Company, by its

attorney, Robert Marc Chemers of Pretzel & Stouffer, Chartered, and for its Complaint

for Declaratory Judgment against the Defendants, Wildberry Pancakes & Café III, Inc.,

an Illinois corporation, Daisy Gabriel, Jasmine Saadeh, Jade Vallejo and Jihad Abdallah,

alleges the following:

                                           JURISDICTION

       1.     The jurisdiction of this Court is premised upon 28 U.S.C. § 1332 because

there is complete diversity of citizenship between the parties and the amount in

controversy exceeds the sum of $75,000, exclusive of interest and costs, in this action

seeking a declaration of no insurance coverage.
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                                           VENUE

      2.     Venue is premised upon 28 U.S.C. § 1391 as the Defendants are residents

of this District and the transaction occurred in this District.

                                       THE PARTIES

      3.     State Automobile Mutual Insurance Company (“State Auto”) is an Ohio

insurance corporation, which maintains its principal place of business in Columbus,

Ohio, and which at all times herein relevant was licensed to and which did transact

insurance business in the State of Illinois and elsewhere.

      4.     Wildberry Pancakes & Café III, Inc. (“Wildberry” or “the Insured”) is an

Illinois corporation with its principal place of business in Chicago, Illinois.

      5.     Daisy Gabriel (“Gabriel”), Jasmine Saadeh (“Saadeh”), Jade Vallejo

(“Vallejo”) and Jihad Abdallah (“Abdallah”) (collectively “the Claimants”) are

individuals who are citizens and residents of the State of Illinois. The Claimants and

each of them have been joined herein as defendants to the extent that they are interested,

and State Auto seeks no relief from any or all of the Claimants. If a Claimant agrees to

be bound by the judgment or order entered in this action, State Auto will seek to dismiss

that Claimant as a defendant.

                                THE STATE AUTO POLICIES

      6.     State Auto issued its policy of insurance numbered 10044842CB to

Wildberry as named insured. The policy provided for Businessowners Liability Insurance

on a primary basis for the effective period of October 20, 2020 to October20,2021. A

certified true and correct copy of the State Auto policy is attached hereto, made a part


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hereof and is marked as Pleading Exhibit A. The policy includes an Employment

Practices Liability endorsement.

      7.     State Auto issued its policy of insurance numbered 10044846CU to

Wildberry as named insured. The policy provided for Commercial Umbrella Liability

Insurance on an umbrella basis for the effective period of October 20, 2020 to

October 20, 2021. A certified true and correct copy of the Umbrella policy is attached

hereto, made a part hereof and is marked as Pleading Exhibit B.

                            THE UNDERLYING LITIGATION

      8.     The Claimants filed a Complaint against Wildberry in the United States

District Court for the Northern District of Illinois, Eastern Division, under Cause No.

21 C 3442. A true and correct copy of the aforesaid Complaint is attached hereto, made

a part hereof and is marked as Pleading Exhibit C.

      9.     The Claimants seek damages from Wildberry for its alleged violations of

the Fair Labor Standards Act (“FLSA”), Illinois Minimum Wage Law (“IMWL”),

Illinois Wage Payment and Collection Act (“IWPCA”), and the Chicago Minimum

Wage Ordinance (“CMWO”) on a collective and class action basis. The Claimants are

former employees of Wildberry as Gabriel alleges that she was employed as a server

from October 2018 through June 27, 2020; Saadeh alleges that she was employed as a

server from May 2017 through September 2020; Vallejo alleges that she was employed

as a server from 2009 through June 2020; and Abdallah alleges that he was employed as

a barista from 2013 through 2018, and each was employed at the Prudential Plaza




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location operated by Wildberry in Chicago, Illinois, all of which more fully appears in

Pleading Exhibit C attached hereto.

      10.    In their seven-count Complaint against Wildberry, the Claimants seek

damages for alleged lack of notice for tip credit in violation of the FLSA (Count I),

damages for unpaid hours worked in excess of 40 hours in violation of the FLSA,

IMWL and CMWO (Count II), damages for unpaid hours in violation of the IWPCA

(Count III), damages for violation of the FLSA, IMWL and CMWO for not being paid

for sidework (Count IV), damages for maintenance of an unlawful tip pool in violation

of the FLSA, IMWL and CMWO (Count V), damages for unlawful deductions for

customer walkouts, mistaken orders and uniforms in violation of the FLSA, IMWL and

CMWO (Count VI), and damages for failure to pay minimum wage in violation of the

CMWO (Count VII), all of which more fully appears in their Complaint, Pleading

Exhibit C attached hereto.

                        PROVISIONS OF THE STATE AUTO POLICIES

      11.    The primary State Auto policy provides in its Insuring Agreement for

“bodily injury” and “property damage” as follows:

      1.     Business Liability

             a.     We will pay those sums that the insured becomes legally
                    obligated to pay as damages because of "bodily injury",
                    "property damage" or "personal and advertising injury" to
                    which this insurance applies. We will have the right and duty
                    to defend the insured against any "suit" seeking those
                    damages. However, we will have no duty to defend the insured
                    against any "suit" seeking damages for "bodily injury",
                    "property damage" or "personal and advertising injury" to
                    which this insurance does not apply. We may, at our


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              discretion, investigate any "occurrence" or any offense and
              settle any claim or "suit" that may result. But:

              (1)   The amount we will pay for damages is limited as
                    described in Paragraph D. Liability And Medical
                    Expenses Limits Of Insurance in Section II – Liability;
                    and
              (2)   Our right and duty to defend end when we have used up
                    the applicable Limit of Insurance in the payment of
                    judgments or settlements or medical expenses.

              No other obligation or liability to pay sums or perform acts or
              services is covered unless explicitly provided for under
              Paragraph f. Coverage Extension – Supplementary Payments.

        b.    This insurance applies:

              (1)   To "bodily injury" and "property damage" only if:

                    (a)    The "bodily injury" or "property damage" is
                           caused by an "occurrence" that takes place in the
                           "coverage territory";

                    (b)    The "bodily injury" or "property damage" occurs
                           during the policy period; and

                    (c)    Prior to the policy period, no insured listed under
                           Paragraph C.1. Who Is An Insured and no
                           "employee" authorized by you to give or receive
                           notice of an "occurrence" or claim, knew that the
                           "bodily injury" or "property damage" had
                           occurred, in whole or in part. If such a listed
                           insured or authorized "employee" knew, prior to
                           the policy period, that the "bodily injury" or
                           "property damage" occurred, then any
                           continuation, change or resumption of such
                           "bodily injury" or "property damage" during or
                           after the policy period will be deemed to have
                           been known before the policy period.

              (2)   To "personal and advertising injury" caused by an
                    offense arising out of your business, but only if the



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                           offense was committed in the "coverage territory"
                           during the policy period.

             c.     “Bodily injury” or “property damage” which occurs during the
                    policy period and was not, prior to the policy period, known to
                    have occurred by any insured listed under Paragraph C.1 Who
                    Is An Insured or any “employee” authorized by you to give or
                    receive notice of an “occurrence” or claim, includes any
                    continuation, change or resumption of “bodily injury” or
                    “property damage”’ after the end of the policy period.

      12.    The primary State Auto policy provides in its Insuring Agreement for

“personal and advertising injury” as follows:

      SECTION I – COVERAGES

      COVERAGE A – BODILY INJURY AND PROPERTY DAMAGE
      LIABILITY

      1.     Insuring Agreement

             a.     We will pay on behalf of the insured the "ultimate net loss"
                    in excess of the "retained limit" because of "bodily injury" or
                    "property damage" to which this insurance applies. We will
                    have the right and duty to defend the insured against any
                    "suit" seeking damages for such "bodily injury" or "property
                    damage" when the "underlying insurance" does not provide
                    coverage or the limits of "underlying insurance" have been
                    exhausted. When we have no duty to defend, we will have
                    the right to defend, or to participate in the defense of, the
                    insured against any other "suit" seeking damages to which
                    this insurance may apply. However, we will have no duty to
                    defend the insured against any "suit" seeking damages for
                    "bodily injury" or "property damage" to which this insurance
                    does not apply. At our discretion, we may investigate any
                    "occurrence" that may involve this insurance and settle any
                    resultant claim or "suit" for which we have the duty to
                    defend. But:

                    (1)    The amount we will pay for the "ultimate net loss" is
                           limited as described in Section III – Limits Of
                           Insurance; and


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                    (2)    Our right and duty to defend ends when we have used
                           up the applicable limit of insurance in the payment of
                           judgments or settlements under Coverages A or B.

                    No other obligation or liability to pay sums or perform acts or
                    services is covered unless explicitly provided for under
                    Supplementary Payments – Coverages A and B.

             b.     This insurance applies to "bodily injury" or "property damage"
                    that is subject to an applicable "retained limit". If any other
                    limit, such as a sublimit, is specified in the "underlying
                    insurance", this insurance does not apply to "bodily injury" or
                    "property damage" arising out of that exposure unless that
                    limit is specified in the Declarations under the Schedule of
                    "underlying insurance".

             c.     This insurance applies to "bodily injury" and "property
                    damage" only if:

                    (1)    The "bodily injury" or "property damage" is caused by
                           an "occurrence" that takes place in the "coverage
                           territory";

                    (2)    The "bodily injury" or "property damage" occurs during
                           the policy period; and

                    (3)    Prior to the policy period, no insured listed under
                           Paragraph 1.a. of Section II – Who Is An Insured and
                           no "employee" authorized by you to give or receive
                           notice of an "occurrence" or claim, knew that the
                           "bodily injury" or "property damage" had occurred, in
                           whole or in part. If such a listed insured or authorized
                           "employee" knew, prior to the policy period, that the
                           "bodily injury" or "property damage" occurred, then
                           any continuation, change or resumption of such "bodily
                           injury" or "property damage" during or after the policy
                           period will be deemed to have been known prior to the
                           policy period.

      13.    The primary State Auto policy defines the terms used in the aforesaid

insuring agreements as follows:




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        “Bodily injury” means bodily injury, sickness or disease sustained
        by a person, including death resulting from any of these at any time.

                                       *****

        “Occurrence” means an accident, including continuous or repeated
        exposure to substantially the same general harmful conditions.

                                       *****

        “Property damage” means:

        a.    Physical injury to tangible property, including all resulting
              loss of use that property. All such loss of use shall be deemed
              to occur at the time of the physical injury that caused it; or

        b.    Loss of use of tangible property that is not physically injured.
              All such loss of use shall be deemed to occur at the time of
              the “occurrence” that caused it.

                                       *****

        "Personal and advertising injury" means injury, including
        consequential “bodily injury,” arising out of one or more of the
        following offenses:

        a.    False arrest, detention or imprisonment;

        b.    Malicious prosecution;

        c.    The wrongful eviction from, wrongful entry into, or invasion
              of the right of private occupancy of a room, dwelling or
              premises that a person occupies, committed by or on behalf of
              its owner, landlord or lessor;

        d.    Oral or written publication, in any manner, of material that
              slanders or libels a person or organization or disparages a
              person's or organization's goods, products or services;

        e.    Oral or written publication, in any manner, of material that
              violates a person’s right of privacy;




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             f.     The use of another’s            advertising   idea     in   your
                    “advertisement”; or

             g.     Infringing upon another’s copyright, trade dress or slogan in
                    your “advertisement”.

      14.    The aforesaid policy includes an Employment-Related Practices Exclusion

which provides as follows:

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                  EMPLOYMENT-RELATED PRACTICES EXCLUSION

      This endorsement modifies insurance provided under the following:

      BUSINESSOWNERS COVERAGE FORM

      The following exclusion is added to Paragraph B.1. Exclusions –
      Applicable To Business Liability Coverage in Section II – Liability:

             This insurance does not apply to "bodily injury" or "personal and
             advertising injury" to:

             (1)    A person arising out of any:

                    (a)      Refusal to employ that person;

                    (b)      Termination of that person's employment; or

                    (c)      Employment-related practices, policies, acts or
                             omissions, such as coercion, demotion, evaluation,
                             reassignment, discipline, defamation, harassment,
                             humiliation, discrimination or malicious prosecution
                             directed at that person; or

             (2)    The spouse, child, parent, brother or sister of that person as a
                    consequence of "bodily injury" or "personal and advertising
                    injury" to that person at whom any of the employment-related
                    practices described in Paragraph (a), (b) or (c) above is
                    directed.

             This exclusion applies:



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            (1)   Whether the injury-causing event described in Paragraph (a),
                  (b) or (c) above occurs before employment, during
                  employment or after employment of that person;

            (2)   Whether the insured may be liable as an employer or in any
                  other capacity; and

            (3)   To any obligation to share damages with or repay someone
                  else who must pay damages because of the injury.

      15.   The State Auto Umbrella policy provides in its Insuring Agreement as

follows:

      SECTION I – COVERAGES

      COVERAGE A – BODILY INJURY AND PROPERTY DAMAGE
      LIABILITY

      1.    Insuring Agreement

            a.    We will pay on behalf of the insured the "ultimate net loss"
                  in excess of the "retained limit" because of "bodily injury" or
                  "property damage" to which this insurance applies. We will
                  have the right and duty to defend the insured against any
                  "suit" seeking damages for such "bodily injury" or "property
                  damage" when the "underlying insurance" does not provide
                  coverage or the limits of "underlying insurance" have been
                  exhausted. When we have no duty to defend, we will have
                  the right to defend, or to participate in the defense of, the
                  insured against any other "suit" seeking damages to which
                  this insurance may apply. However, we will have no duty to
                  defend the insured against any "suit" seeking damages for
                  "bodily injury" or "property damage" to which this insurance
                  does not apply. At our discretion, we may investigate any
                  "occurrence" that may involve this insurance and settle any
                  resultant claim or "suit" for which we have the duty to
                  defend. But:

                  (1)    The amount we will pay for the "ultimate net loss" is
                         limited as described in Section III – Limits Of
                         Insurance; and

                  (2)    Our right and duty to defend ends when we have used

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                         up the applicable limit of insurance in the payment of
                         judgments or settlements under Coverages A or B.

                  No other obligation or liability to pay sums or perform acts or
                  services is covered unless explicitly provided for under
                  Supplementary Payments – Coverages A and B.

            b.    This insurance applies to "bodily injury" or "property damage"
                  that is subject to an applicable "retained limit". If any other
                  limit, such as a sublimit, is specified in the "underlying
                  insurance", this insurance does not apply to "bodily injury" or
                  "property damage" arising out of that exposure unless that
                  limit is specified in the Declarations under the Schedule of
                  "underlying insurance".

            c.    This insurance applies to "bodily injury" and "property
                  damage" only if:

                  (1)    The "bodily injury" or "property damage" is caused by
                         an "occurrence" that takes place in the "coverage
                         territory";

                  (2)    The "bodily injury" or "property damage" occurs during
                         the policy period; and

                  (3)    Prior to the policy period, no insured listed under
                         Paragraph 1.a. of Section II – Who Is An Insured and
                         no "employee" authorized by you to give or receive
                         notice of an "occurrence" or claim, knew that the
                         "bodily injury" or "property damage" had occurred, in
                         whole or in part. If such a listed insured or authorized
                         "employee" knew, prior to the policy period, that the
                         "bodily injury" or "property damage" occurred, then
                         any continuation, change or resumption of such "bodily
                         injury" or "property damage" during or after the policy
                         period will be deemed to have been known prior to the
                         policy period.

      16.   The State Auto primary policy in its Employment Practices Liability

Endorsement (“EPL Endorsement”) includes an Insuring Agreement which provides as

follows:



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            “We” shall pay those "losses" arising out of an “insured’s” "wrongful
            employment act"… against “your” "employees", "recognized
            volunteers" and applicants for employment to which this insurance
            applies… A “claim” or “suit” for a “wrongful employment act” must
            be first made against “you” during the “EPL coverage period” or
            Extended Reporting Periods (if applicable) and reported to “us”
            pursuant to the terms of this EPL Coverage.

      17.   The EPL Endorsement defines the term “wrongful employment act” as

follows:

            1.    Wrongful dismissal, discharge or termination (either actual or
                  constructive), including breach of an implied contract;

            2.    Harassment or coercion (including sexual harassment, whether
                  quid pro quo, hostile work environment or otherwise);

            3.    Discrimination (including but not limited to discrimination
                  based upon age, gender, race, color, national origin, religion,
                  sexual orientation or preference, pregnancy or disability);

            4.    "Retaliation" (including lockouts);

            5.    Employment-related      misrepresentation(s)   to       “your”
                  "employee" or applicant for employment with “you”;

            6.    Employment-related libel, slander, humiliation, mental
                  anguish, infliction of emotional distress, defamation, or
                  invasion of privacy;

            7.    Wrongful failure to employ or promote;

            8.    Wrongful deprivation of career opportunity, wrongful
                  demotion or negligent "employee" evaluation, including the
                  giving of negative or defamatory statements in connection
                  with an "employee" reference;

            9.    Wrongful discipline;

            10.   Failure to provide or enforce adequate or consistent corporate
                  policies and procedures relating to any "wrongful employment
                  act";




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             11.     Negligent supervision or hiring by an insured, relating to any
                     of the above;

             12.     Violation of an individual's civil rights relating to any of the
                     above.

             13.     “Third party violations”, but only if coverage for “third party
                     violations” is shown on the Supplemental Declarations.

      18.    The EPL Endorsement includes an exclusion for violation of the FLSA or

“any similar federal, state, local or * * * common law” and specifically provides in EPL

Endorsement Section II., F., as follows:

                   This insurance does not apply to:

                            Any liability for violation(s) of any of the
                            responsibilities, obligations or duties imposed by… the
                            Fair Labor Standards Act (except the Equal Pay Act)…
                            or any similar federal, state, local or foreign statutory
                            law or common law… [including] any and all “claims”
                            and “suits” which in whole or in part allege, arise out
                            of, are based upon, are attributable to, or are in any way
                            related to… the refusal, failure or inability of any
                            “insured(s)” to pay wages or overtime pay for service
                            rendered or time spent in connection with work related
                            activities (as opposed to tort-based back pay or front
                            pay damages for torts other than conversion); [or]
                            improper deductions from pay taken by any
                            “insured(s)” from any “employee(s)”.

                                  TENDER OF DEFENSE

      19.    Wildberry tendered its defense to State Auto, and State Auto refused to

accept that tender for the reasons stated herein.

                              COUNT I
      (DECLARATORY JUDGMENT RE: NO DUTY TO DEFEND PRIMARY POLICY)

      20.    State Auto adopts and repeats the allegations of ¶¶ 1 through 13 and 19 as

and for ¶ 20 hereof as though the same were fully set forth herein.


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      21.   While the primary State Auto policy, Pleading Exhibit A, extends coverage

to an insured for “bodily injury,” “property damage,” and “personal and advertising

injury,” as defined therein, the claims in the underlying action by the Claimants are not

covered by the policy of insurance.

      22.   State Auto contends that it has no duty or obligation to defend Wildberry in

connection with the claims made against it by the Claimants for one or more or all of the

following reasons:

            (a)      That the Complaint does not allege “bodily injury” as defined

                     by the policy of insurance.

            (b)      That the Complaint does not allege “property damage” as

                     defined by the policy of insurance.

            (c)      That the Complaint does not allege “personal and advertising

                     injury” as defined by the policy of insurance.

            (d)      That the Complaint does not allege an “occurrence” as

                     defined by the policy of insurance as only intentional and

                     non-accidental conduct is alleged, all of which occurred prior

                     to the inception of the policy on October 20, 2020.

            (e)      That the policy issued to Wildberry does not cover claims for

                     alleged violations of the FLSA, IMWL, IWPCA, and the

                     CMWO

            (f)      That the policy issued to Wildberry does not cover claims for

                     “bodily injury,” “property damage,” or “personal and


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                    advertising injury” arising out of employment-related

                    practices, and all of the conduct complained of by the

                    Claimants was in connection with employment-related

                    practices.

      23.    The above contentions of State Auto are, on information and belief, denied

by Wildberry which, in turn, contends that Wildberry is entitled to coverage under the

State Auto primary policy of insurance. State Auto, in turn, denies, the contrary

contentions of Wildberry and each of them.

      24.    By reason of the foregoing, an actual and justiciable controversy exists

between the parties and each of them, which may be determined by a judgment or order

of this Court. Pursuant to the terms and provisions of 28 U.S.C. §§ 2201 and 2202, this

Court has the power to declare and adjudicate the rights and liabilities of the parties

hereto under the terms and provisions of the policy of insurance referred to herein, and

to adjudicate the final rights of all parties and to give such other and further relief as may

be necessary to enforce the same.

                              COUNT II
    (DECLARATORY JUDGMENT RE: NO DUTY TO DEFEND EPL ENDORSEMENT)

      25.    State Auto adopts and repeats the allegations of ¶¶ 1 through 10 and 16

through 19 as and for ¶ 25 hereof as though the same were fully set forth herein.

      26.    While the EPL Endorsement to the State Auto primary policy, Pleading

Exhibit A, extends coverage to an insured for a “wrongful employment act,” as defined




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therein, the claims in the underlying action by the Claimants are not covered by the EPL

Endorsement to the policy of insurance as no “wrongful employment act” is alleged.

      27.    State Auto contends that it has no duty or obligation under the EPL

Endorsement to defend Wildberry in connection with the claims made against it by the

Claimants for one or more or all of the following reasons:

             (a)   That the Complaint in each of its counts does not allege a

                   “wrongful employment act” as defined by the EPL

                   Endorsement to the policy of insurance.

             (b)   That the Complaint alleges a failure to pay all hours worked,

                   failure to pay minimum wage, operating an unlawful tip pool,

                   and unlawful retention of tips in violation of the FLSA and

                   similar state statutes (IMWL and IWPCA) and a municipal

                   ordinance (CMWO) all of which is excluded by the EPL

                   Endorsement, Section II., F.

      28.    The above contentions of State Auto are, on information and belief, denied

by Wildberry which, in turn, contends that Wildberry is entitled to coverage under the

EPL Endorsement to the State Auto primary policy. State Auto, in turn, denies, the

contrary contentions of Wildberry and each of them.

      29.    By reason of the foregoing, an actual and justiciable controversy exists

between the parties and each of them, which may be determined by a judgment or order

of this Court. Pursuant to the terms and provisions of 28 U.S.C. §§ 2201 and 2202, this

Court has the power to declare and adjudicate the rights and liabilities of the parties


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hereto under the terms and provisions of the EPL Endorsement to the policy of insurance

referred to herein, and to adjudicate the final rights of all parties and to give such other

and further relief as may be necessary to enforce the same.

                             COUNT III
     (DECLARATORY JUDGMENT RE: NO DUTY TO DEFEND UMBRELLA POLICY)

       30.    State Auto adopts and repeats the allegations of ¶¶ 1 through 10, 15 and 19

as and for ¶ 30 hereof as though the same were fully set forth herein.

       31.    While the State Auto Umbrella policy, Pleading Exhibit B, extends

coverage to an insured for “bodily injury,” “property damage,” and “personal and

advertising injury,” as defined therein, the claims in the underlying action by the

Claimants are not covered by the Umbrella policy of insurance.

       32.    State Auto contends that it has no duty or obligation to defend Wildberry in

connection with the claims made against it by the Claimants for one or more or all of the

following reasons:

              (a)    That the Complaint does not allege “bodily injury” as defined

                     by the Umbrella policy of insurance.

              (b)    That the Complaint does not allege “property damage” as

                     defined by the Umbrella policy of insurance.

              (c)    That the Complaint does not allege “personal and advertising

                     injury” as defined by the Umbrella policy of insurance.

              (d)    That the Complaint does not allege an “occurrence” as

                     defined by the policy of insurance as only intentional and



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                     non-accidental conduct is alleged, all of which occurred prior

                     to the inception of the policy on October 20, 2020.

              (e)    That the policy issued to Wildberry does not cover claims for

                     alleged violations of the FLSA, IMWL, IWPCA, and the

                     CMWO

              (f)    That the policy issued to Wildberry does not cover claims for

                     “bodily injury,” “property damage,” or “personal and

                     advertising injury” arising out of employment-related

                     practices, and all of the conduct complained of by the

                     Claimants was in connection with employment-related

                     practices.

       33.    The above contentions of State Auto are, on information and belief, denied

by Wildberry which, in turn, contends that Wildberry is entitled to coverage under the

State Auto Umbrella policy of insurance. State Auto, in turn, denies, the contrary

contentions of Wildberry and each of them.

       34.    By reason of the foregoing, an actual and justiciable controversy exists

between the parties and each of them, which may be determined by a judgment or order

of this Court. Pursuant to the terms and provisions of 28 U.S.C. §§ 2201 and 2202, this

Court has the power to declare and adjudicate the rights and liabilities of the parties

hereto under the terms and provisions of the Umbrella policy of insurance referred to

herein, and to adjudicate the final rights of all parties and to give such other and further

relief as may be necessary to enforce the same.


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                                 PRAYERS FOR RELIEF

      WHEREFORE, the Plaintiff, State Automobile Mutual Insurance Company,

prays that this Court enters judgment finding and declaring the rights of the parties as

follows:

                                    AS TO COUNT I:

      A.     That State Automobile Mutual Insurance Company has no duty or

             obligation to provide a defense to Wildberry Pancakes & Café III,

             Inc. for the action filed in the United States District Court for the

             Northern District of Illinois, Eastern Division, under Cause No. 21 C

             3442 under its Businessowners Liability policy of insurance

             numbered 10044842CB.

      B.     That the Court grant State Automobile Mutual Insurance Company

             such other and further relief as the Court deems fit and just under the

             circumstances.

      C.     That State Automobile Mutual Insurance Company be awarded and

             have and recover its just and reasonable costs incurred herein and

             have execution issue therefor.

                                   AS TO COUNT II:

      A.     That State Automobile Mutual Insurance Company has no duty or

             obligation to provide a defense to Wildberry Pancakes & Café III,

             Inc. for the action filed in the United States District Court for the

             Northern District of Illinois, Eastern Division, under Cause No. 21 C


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         3442, under the Employment Practices Liability Endorsement to its

         Businessowners     Liability      policy   of   insurance   numbered

         10044842CB.

   B.    That the Court grant State Automobile Mutual Insurance Company

         such other and further relief as the Court deems fit and just under the

         circumstances.

   C.    That State Automobile Mutual Insurance Company be awarded and

         have and recover its just and reasonable costs incurred herein and

         have execution issue therefor.

                               AS TO COUNT III:

   A.    That State Automobile Mutual Insurance Company has no duty or

         obligation to provide a defense to Wildberry Pancakes & Café III,

         Inc. for the action filed in the United States District Court for the

         Northern District of Illinois, Eastern Division, under Cause No. 21 C

         3442 under its Umbrella Liability policy of insurance numbered

         10044846CU.

   B.    That the Court grant State Automobile Mutual Insurance Company

         such other and further relief as the Court deems fit and just under the

         circumstances.

   C.    That State Automobile Mutual Insurance Company be awarded and

         have and recover its just and reasonable costs incurred herein and

         have execution issue therefor.


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                                         Respectfully submitted:



                                         /s/ Robert Marc Chemers
                                         Robert Marc Chemers
                                         Bar Number: 0431508
                                         PRETZEL & STOUFFER, CHARTERED
                                         One South Wacker Drive
                                         Suite 2500
                                         Chicago, Illinois 60606
                                         Telephone:      (312) 578-7548
                                         Fax:            (312) 346-8242
                                         E-Mail: rchemers@pretzelstouffer.com




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